
217 P.3d 755 (2009)
STATE of Washington, Petitioner,
v.
David Ernest HILL, Respondent.
No. 82720-6.
Supreme Court of Washington.
September 29, 2009.

ORDER
¶ 1 Department I of the Court, composed of Chief Justice Alexander and Justices C. Johnson, Sanders, Owens and J. Johnson, considered at its September 29, 2009, Motion Calendar, whether review should be granted pursuant to RAP 13.4(b), and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the Petition for Review is granted and the case is remanded to the Court of Appeals Division One for reconsideration in light of In re Personal Restraint Petition of Brooks, 166 Wash.2d 664, 211 P.3d 1023 (2009).
/s/ Gerry L. Alexander
    Chief justice.
